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                  6DOHRIUHDOSURSHUW\
                  See § 7(c) below for detailed description
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    DVVLJQHGWRRULVRZHGWRDJRYHUQPHQWDOXQLWDQGZLOOEHSDLGOHVVWKDQWKHIXOODPRXQWRIWKHFODLPThis plan
    provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


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     D  % LL ZLOOEHSDLGDWWKHUDWHDQGLQWKHDPRXQWOLVWHGEHORZ. If the claimant included a different
    interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided for
    “present value” interest, the claimant must file an objection to confirmation.

               8SRQFRPSOHWLRQRIWKH3ODQSD\PHQWVPDGHXQGHUWKLVVHFWLRQVDWLVI\WKHDOORZHGVHFXUHGFODLPDQG
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        basis of adequate protection payment 'HEWRUVKDOOUHPLWWKHDGHTXDWHSURWHFWLRQSD\PHQWVGLUHFWO\WRWKH
        0RUWJDJH/HQGHU

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        3ODQWRRWKHUZLVHSURYLGHIRUWKHDOORZHGFODLPRIWKH0RUWJDJH/HQGHURU % 0RUWJDJH/HQGHUPD\VHHNUHOLHI
        IURPWKHDXWRPDWLFVWD\ZLWKUHJDUGWRWKHFROODWHUDODQG'HEWRUZLOOQRWRSSRVHLW


        3DUW*HQHUDO8QVHFXUHG&ODLPV

             D 6HSDUDWHO\FODVVLILHGDOORZHGXQVHFXUHGQRQSULRULW\FODLPV
                    1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI D QHHGQRWEHFRPSOHWHG

                                                         %DVLVIRU6HSDUDWH
        &UHGLWRU                &ODLP1XPEHU           &ODVVLILFDWLRQ           7UHDWPHQW           $PRXQWWREH
                                                                                                        3DLGE\7UXVWHH
                                                                                                




             E 7LPHO\ILOHGXQVHFXUHGQRQSULRULW\FODLPV
               (1) /LTXLGDWLRQ7HVW(check one box)
                       $OO'HEWRU V SURSHUW\LVFODLPHGDVH[HPSW
                       'HEWRU V KDVQRQH[HPSWSURSHUW\YDOXHGDW             IRUSXUSRVHVRI D  DQGSODQ
    SURYLGHVIRUGLVWULEXWLRQRI                     WRDOORZHGSULRULW\DQGXQVHFXUHGJHQHUDOFUHGLWRUV

                       )XQGLQJ E FODLPVWREHSDLGDVIROORZV(check one box)
                          3URUDWD
                          
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         3DUW([HFXWRU\&RQWUDFWV 8QH[SLUHG/HDVHV
                                                                                                                                  
               1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIQHHGQRWEHFRPSOHWHG

     &UHGLWRU                          &ODLP1XPEHU       1DWXUHRI              7UHDWPHQWE\'HEWRU3XUVXDQWWR E
                                                            &RQWUDFWRU
                                                            /HDVH
                                                                           




         3DUW2WKHU3URYLVLRQV


             D *HQHUDOSULQFLSOHVDSSOLFDEOHWRWKH3ODQ
               (1) 9HVWLQJRI3URSHUW\RIWKH(VWDWH(check one box)
                           8SRQFRQILUPDWLRQ
                           8SRQGLVFKDUJH

                6XEMHFWWR%DQNUXSWF\5XOHDQG86& D  WKHDPRXQWRIDFUHGLWRU¶VFODLPOLVWHGLQLWV
     SURRIRIFODLPFRQWUROVRYHUDQ\FRQWUDU\DPRXQWVOLVWHGLQ3DUWVRURIWKH3ODQ

                3RVWSHWLWLRQFRQWUDFWXDOSD\PHQWVXQGHU E  DQGDGHTXDWHSURWHFWLRQSD\PHQWVXQGHU
      D  %  & VKDOOEHGLVEXUVHGWRWKHFUHGLWRUVE\WKHGHEWRUGLUHFWO\$OORWKHUGLVEXUVHPHQWVWRFUHGLWRUV
     VKDOOEHPDGHE\WKH7UXVWHH

                 ,I'HEWRULVVXFFHVVIXOLQREWDLQLQJDUHFRYHU\LQDSHUVRQDOLQMXU\RURWKHUOLWLJDWLRQLQZKLFK'HEWRULV
     WKHSODLQWLIIEHIRUHWKHFRPSOHWLRQRISODQSD\PHQWVDQ\VXFKUHFRYHU\LQH[FHVVRIDQ\DSSOLFDEOHH[HPSWLRQZLOO
     EHSDLGWRWKH7UXVWHHDVDVSHFLDO3ODQSD\PHQWWRWKHH[WHQWQHFHVVDU\WRSD\SULRULW\DQGJHQHUDOXQVHFXUHG
     FUHGLWRUVRUDVDJUHHGE\WKH'HEWRUDQGWKH7UXVWHHDQGDSSURYHGE\WKHFRXUW

          E $IILUPDWLYHGXWLHVRQKROGHUVRIFODLPVVHFXUHGE\DVHFXULW\LQWHUHVWLQGHEWRU¶V
     SULQFLSDOUHVLGHQFH

                  $SSO\WKHSD\PHQWVUHFHLYHGIURPWKH7UXVWHHRQWKHSUHSHWLWLRQDUUHDUDJHLIDQ\RQO\WRVXFK
     DUUHDUDJH

                 $SSO\WKHSRVWSHWLWLRQPRQWKO\PRUWJDJHSD\PHQWVPDGHE\WKH'HEWRUWRWKHSRVWSHWLWLRQPRUWJDJH
     REOLJDWLRQVDVSURYLGHGIRUE\WKHWHUPVRIWKHXQGHUO\LQJPRUWJDJHQRWH

                 7UHDWWKHSUHSHWLWLRQDUUHDUDJHDVFRQWUDFWXDOO\FXUUHQWXSRQFRQILUPDWLRQIRUWKH3ODQIRUWKHVROH
     SXUSRVHRISUHFOXGLQJWKHLPSRVLWLRQRIODWHSD\PHQWFKDUJHVRURWKHUGHIDXOWUHODWHGIHHVDQGVHUYLFHVEDVHGRQ
     WKHSUHSHWLWLRQGHIDXOWRUGHIDXOW V /DWHFKDUJHVPD\EHDVVHVVHGRQSRVWSHWLWLRQSD\PHQWVDVSURYLGHGE\WKH
     WHUPVRIWKHPRUWJDJHDQGQRWH

                 ,IDVHFXUHGFUHGLWRUZLWKDVHFXULW\LQWHUHVWLQWKH'HEWRU¶VSURSHUW\VHQWUHJXODUVWDWHPHQWVWRWKH
     'HEWRUSUHSHWLWLRQDQGWKH'HEWRUSURYLGHVIRUSD\PHQWVRIWKDWFODLPGLUHFWO\WRWKHFUHGLWRULQWKH3ODQWKHKROGHU
     RIWKHFODLPVVKDOOUHVXPHVHQGLQJFXVWRPDU\PRQWKO\VWDWHPHQWV

                ,IDVHFXUHGFUHGLWRUZLWKDVHFXULW\LQWHUHVWLQWKH'HEWRU¶VSURSHUW\SURYLGHGWKH'HEWRUZLWKFRXSRQ
     ERRNVIRUSD\PHQWVSULRUWRWKHILOLQJRIWKHSHWLWLRQXSRQUHTXHVWWKHFUHGLWRUVKDOOIRUZDUGSRVWSHWLWLRQFRXSRQ
     ERRN V WRWKH'HEWRUDIWHUWKLVFDVHKDVEHHQILOHG

                'HEWRUZDLYHVDQ\YLRODWLRQRIVWD\FODLPDULVLQJIURPWKHVHQGLQJRIVWDWHPHQWVDQGFRXSRQERRNVDV
     VHWIRUWKDERYH
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          F 6DOHRI5HDO3URSHUW\
                1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI F QHHGQRWEHFRPSOHWHG

                &ORVLQJIRUWKHVDOHRI                               WKH³5HDO3URSHUW\´ VKDOOEHFRPSOHWHG
     ZLWKLQ     PRQWKVRIWKHFRPPHQFHPHQWRIWKLVEDQNUXSWF\FDVH WKH³6DOH'HDGOLQH´ 8QOHVVRWKHUZLVH
     DJUHHGE\WKHSDUWLHVRUSURYLGHGE\WKH&RXUWHDFKDOORZHGFODLPVHFXUHGE\WKH5HDO3URSHUW\ZLOOEHSDLGLQ
     IXOOXQGHU E  RIWKH3ODQDWWKHFORVLQJ ³&ORVLQJ'DWH´ 

                7KH5HDO3URSHUW\ZLOOEHPDUNHWHGIRUVDOHLQWKHIROORZLQJPDQQHUDQGRQWKHIROORZLQJWHUPV




                &RQILUPDWLRQRIWKLV3ODQVKDOOFRQVWLWXWHDQRUGHUDXWKRUL]LQJWKH'HEWRUWRSD\DWVHWWOHPHQWDOO
     FXVWRPDU\FORVLQJH[SHQVHVDQGDOOOLHQVDQGHQFXPEUDQFHVLQFOXGLQJDOO E FODLPVDVPD\EHQHFHVVDU\WR
     FRQYH\JRRGDQGPDUNHWDEOHWLWOHWRWKHSXUFKDVHU+RZHYHUQRWKLQJLQWKLV3ODQVKDOOSUHFOXGHWKH'HEWRUIURP
     VHHNLQJFRXUWDSSURYDORIWKHVDOHSXUVXDQWWR86&HLWKHUSULRUWRRUDIWHUFRQILUPDWLRQRIWKH3ODQLI
     LQWKH'HEWRU¶VMXGJPHQWVXFKDSSURYDOLVQHFHVVDU\RULQRUGHUWRFRQYH\LQVXUDEOHWLWOHRULVRWKHUZLVH
     UHDVRQDEO\QHFHVVDU\XQGHUWKHFLUFXPVWDQFHVWRLPSOHPHQWWKLV3ODQ

               $WWKH&ORVLQJLWLVHVWLPDWHGWKDWWKHDPRXQWRIQROHVVWKDQ                VKDOOEHPDGH
     SD\DEOHWRWKH7UXVWHH

               'HEWRUVKDOOSURYLGHWKH7UXVWHHZLWKDFRS\RIWKHFORVLQJVHWWOHPHQWVKHHWZLWKLQKRXUVRIWKH
     &ORVLQJ'DWH

                ,QWKHHYHQWWKDWDVDOHRIWKH5HDO3URSHUW\KDVQRWEHHQFRQVXPPDWHGE\WKHH[SLUDWLRQRIWKH6DOH
    CCCCC
      'HDGOLQH B




     3DUW2UGHURI'LVWULEXWLRQ

    7KHRUGHURIGLVWULEXWLRQRI3ODQSD\PHQWVZLOOEHDVIROORZV

           /HYHO7UXVWHH&RPPLVVLRQV 
           /HYHO'RPHVWLF6XSSRUW2EOLJDWLRQV
           /HYHO$GHTXDWH3URWHFWLRQ3D\PHQWV
           /HYHO'HEWRU¶VDWWRUQH\¶VIHHV
           /HYHO3ULRULW\FODLPVSURUDWD
           /HYHO6HFXUHGFODLPVSURUDWD
           /HYHO6SHFLDOO\FODVVLILHGXQVHFXUHGFODLPV
           /HYHO*HQHUDOXQVHFXUHGFODLPV
           /HYHO8QWLPHO\ILOHGJHQHUDOXQVHFXUHGQRQSULRULW\FODLPVWRZKLFKGHEWRUKDVQRWREMHFWHG

     Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
    not to exceed ten (10) percent.




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   8QGHU%DQNUXSWF\5XOH H 3ODQSURYLVLRQVVHWIRUWKEHORZLQ3DUWDUHHIIHFWLYHRQO\LIWKHDSSOLFDEOH
   ER[LQ3DUWRIWKLV3ODQLVFKHFNHG1RQVWDQGDUGRUDGGLWLRQDOSODQSURYLVLRQVSODFHGHOVHZKHUHLQWKH3ODQ
   DUHYRLG

      1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI3DUWQHHGQRWEHFRPSOHWHG




  %\VLJQLQJEHORZDWWRUQH\IRU'HEWRU V RUXQUHSUHVHQWHG'HEWRU V FHUWLILHVWKDWWKLV3ODQFRQWDLQVQR
QRQVWDQGDUGRUDGGLWLRQDOSURYLVLRQVRWKHUWKDQWKRVHLQ3DUWRIWKH3ODQDQGWKDWWKH'HEWRU V DUHDZDUHRIDQG
FRQVHQWWRWKHWHUPVRIWKLV3ODQ




'DWH
           April 19, 2023                                  Michael D. Sayles
                                                            $WWRUQH\IRU'HEWRU V 


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